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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

    UBIQUITI NETWORKS, INC.,


                            Plaintiff,

                    v.
                                              Civil Action No.: 1:18-cv-05369
    CAMBIUM NETWORKS, INC.;
    CAMBIUM NETWORKS, LTD.;                   JURY TRIAL DEMANDED
    BLIP NETWORKS, LLC;
    WINNCOM TECHNOLOGIES, INC.;
    SAKID AHMED; and DMITRY
    MOISEEV,

                            Defendants.


  DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR MOTION TO DISMISS
     UNDER FEDERAL RULES OF CIVIL PROCEDURE 12(b)(6) and 12(b)(1)




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         Defendants Cambium Networks, Inc. (“Cambium”) and Cambium Networks, Ltd.

(“Cambium UK”), Blip Networks, LLC, Winncom Technologies, Inc., Sakid Ahmed, and

Dmitry Moiseev (collectively the “Defendants”), hereby move to dismiss Ubiquiti Networks,

Inc.’s complaint (“Ubiquiti”) under Federal Rules of Civil Procedure 12(b)(6) and 12(b)(1).

I.       INTRODUCTION

         Cambium and Ubiquiti are direct competitors that both manufacture wireless broadband

networking devices and software for wireless internet service providers (WISPs). Defendants

Ahmed and Moiseev are Cambium employees. Defendant Winncom is a distributor of both

Ubiquiti and Cambium products. Defendant Blip is an end user of both Ubiquiti and Cambium

products.

         Ubiquiti’s allegations in its complaint center around software used in its M-series

devices—the “airOS” firmware (the “Ubiquiti Firmware”). No claim is based on the M-series

hardware; all claims are based on the Ubiquiti Firmware. Ubiquiti M-series devices wirelessly

connect to Ubiquiti’s Access Points which are physically connected to a fixed broadband

network. Ubiquiti designed the Ubiquiti Firmware on the M-series devices to allow the devices

to only interoperate with Ubiquiti Access Points and to not be operable with Access Points

provided by other vendors, such as Cambium. Cambium provides its own Access Points and

subscriber modules that are a corollary to Ubiquiti’s M-series devices.

         Despite the length and complexity of its complaint, Ubiquiti’s allegations are simply that

Cambium, and the other Defendants, are in violation of numerous laws because Cambium

developed a solution (called “Elevate”) to allow the owners of Ubiquiti M-series hardware

devices to erase the Ubiquiti Firmware from the M-series devices and replace it with Cambium’s

firmware. This “erase and replace” allows the owners of the M-series devices to use them to

interoperate with Cambium’s Access Points. Because there is nothing illegal about erasing


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unprotected firmware and replacing it to allow owners of the unprotected Ubiquiti M-series

devices to use them how they see fit, Ubiquiti trumps up a massive complaint containing over

398 paragraphs of vague, conflicting, and confusing allegations, stylized with inflammatory yet

wholly unsubstantiated descriptors (e.g., the “Hacked Firmware”), that fail to support any of the

23 claims alleged therein.

         Ubiquiti’s allegations are all rooted in the same flawed premise: that it is somehow

unlawful for an owner of a lawfully purchased Ubiquiti device to delete its software and replace

it with Cambium’s. However, Cambium and its customers are “entitled, without the authority of

the copyright owner, to . . . dispose of the possession of” Ubiquiti’s firmware under the

Copyright Act. 17 U.S.C. § 109(a). In addition, the Copyright Act does not provide for any

“deletion” rights associated with a protected work. Contra 17 U.S.C. § 106. Nor does deletion

trigger any breach under Ubiquiti’s licenses. The numerous prohibitions all relate to use of its

software, and never mention “deletion,” “erasure,” or “replacement” as a prohibition. See Ex. B1

(the “Firmware License”); Ex. C (the “Ubiquiti EULA”) (collectively, the “Licenses”).

         Critically, Ubiquiti’s Complaint fails to clearly state ownership of any identified,

protected firmware under any statutory scheme—whether copyright, CFAA, DMCA, or Illinois

Computer Tampering Act—or even its own Licenses, while at the same time admitting that an

extensive list of its firmware components are deleted during installation of Cambium’s firmware.

As to any remaining components, the Licenses attached as Exhibits to the Complaint state that

Ubiquiti’s Firmware includes Open Source or public third-party software, and expressly

disclaims any ownership of that code. This includes numerous public open source components

licensed under a GNU General Public License (e.g., “GPL Ver. 2,” and “GPL Ver. 3”)


1
 All references to exhibits identified by letters are references to exhibits Ubiquiti attached to the
Complaint.


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(generally, the “Public Licenses”). Under the Public Licenses, Ubiquiti admittedly does not own

the Open Source materials. Further, the Public Licenses also propagate to “infect” any other

portions of Ubiquiti’s firmware that use that code—likely Ubiquiti’s entire firmware. On the face

of the complaint Ubiquiti never separates out the portion of the Ubiquiti Firmware that forms the

basis of all its claims that was not either deleted or subject to a Public License.

         Setting aside the issue that Ubiquiti does not identify which parts of the Ubiquiti

Firmware it owns or remain protectable, if any, it also does not identify the “portions” of the

Ubiquiti Firmware that Cambium improperly “modified” or “copied” as alleged in its complaint.

¶ 67. Ubiquiti is required to identify what portions of its firmware are copied or modified to

properly state a claim so that Cambium can assess those claims. Bell Atl. Corp. v. Twombly, 550

U.S. 544, 557-58 (2007). Ubiquiti alleges only that two portions of the Ubiquiti Firmware remain

and are reused: calibration and configuration “information,” neither of which are entitled to

copyright protection by Ubiquiti. ¶¶ 73, 77, 86 and 89. These user-specified “information” and

settings are not copyright eligible—either because they are not alleged to be authored by Ubiquiti

or because they are purely functional settings and therefore fail to meet even the low eligibility

criteria for copyrightable expression. See Datacarrier S.A. v. WOCCU Servs. Grp., Inc., 2018

WL 1514456, at *7 (W.D. Wis. Mar. 27, 2018). Despite 398 paragraphs of allegations, Ubiquiti

failed to specifically identify any protectable firmware that it actually owns and was used or

modified by Cambium.

         Finally, Ubiquiti lacks standing because of the Public Licenses. The Public Licenses

expressly allow every activity alleged by Ubiquiti to be unlawful, including copying, modifying,

accessing, deleting, and circumventing access controls. These provisions apply to Ubiquiti’s

entire firmware distribution and thus bar all of Ubiquiti’s claims because “[y]ou must cause any




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work that you distribute or publish, that in whole or in part contains or is derived from [a GPL’d

Program] to be licensed as a whole at no charge to all third parties under the terms of this [GPL]

License.” Exs. 4, 5; see Versata Software, Inc. v. Ameriprise Fin., Inc., No. A-14-CA-12-SS,

2014 WL 950065, at *5 (W.D. Tex. Mar. 11, 2014). Thus, separate from a failure to state a

claim, Ubiquiti fails to allege actual ownership of the specific code to have been used by

Cambium sufficient to establish standing, and the Public Licenses referenced in the Exhibits

attached to the Complaint frustrate these claims even further. Therefore, the Court should

dismiss the complaint.

II.      RELEVANT FACTUAL ALLEGATIONS

         A.     The Incorporated Documentation and Public Licenses Are Part of the
         Pleadings

         The Incorporated Documentation and Public Licenses are “central to [Ubiquiti’s]

complaint and are referred to in it” by reference to Ubiquiti’s Licenses, which expressly require

review of “any documentation that accompanies the Ubiquiti Firmware or is identified in the

documentation for the Ubiquiti Firmware in order to determine which portions of the Ubiquiti

Firmware are Open Source Software and are licensed under an Open Source Software license”

(Ex. B at 3-4). Thus, these documents are part of the pleadings. Williamson v. Curran, 714 F.3d

432, 436 (7th Cir. 2013) (“[W]e have taken a broader view of documents that may be considered

on a motion to dismiss, noting that a court may consider . . . documents that are attached to the

complaint, documents that are central to the complaint and are referred to in it, and information

that is properly subject to judicial notice.”); 188 LLC v. Trinity Industries, Inc., 300 F.3d 730,

735 (7th Cir. 2002) (discussing “well-settled” rule to discourage “artful pleading” by considering

documents referenced in pleadings though not attached to Complaint).

         Ubiquiti’s Licenses are at the heart of at least Ubiquiti’s contract, copyright, CFAA, and



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ICTA claims, because these claims each stem from an alleged breach of one of these Licenses,

and interpretation of the rights and restrictions granted therein is central to its pleadings.

Ubiquiti’s Licenses expressly require review of the Incorporated Documentation to “determine

which portions of the Ubiquiti Firmware are Open Source Software and are licensed under an

Open Source Software license[, and those licenses] shall take precedence over the rights and

restrictions granted in [Ubiquiti’s License] Agreement.” Ex. B at 4; see Ex. C at 5. 2

         Inspection of the Incorporated Documentation shows that Ubiquiti’s Firmware contains at

the very least over 16,000 files and over 1.4 million lines of uncopyrightable open source code

(“Public Code”), which Ubiquiti did not create and cannot claim ownership of. In fact, the Public

Code is owned by 356 other Copyright holders. See Ex. 9.3 Further, according to the terms of

these Public Licenses, any code that Ubiquiti did write that incorporates, modifies, or adapts this

Public Code becomes part of the Public Code, “infecting” code that Ubiquiti may have authored

and negating Ubiquiti’s ownership therein.

         B.         Cambium and Ubiquiti Wireless Networking Products and Firmware

         While both companies have numerous product lines, the only relevant products in this

proceeding are one particular line of Cambium’s firmware – the ePMP Elevate firmware for

Ubiquiti’s M-series devices – and Ubiquiti’s M-series devices with the Ubiquiti Firmware.

¶¶ 63-65, 71. Cambium’s ePMP product line includes about 90 different products, including

“access points,” “subscriber modules,” and accessory devices that enable WISPs to extend fixed

wireless broadband network capabilities. ¶ 65, Ex. E at 2-5; Ex. I. The network architecture


2
  That Incorporated Documentation is attached as exhibits to this motion. Since the entire scope of the
Incorporated Documentation is so large, Defendants have prepared digests of information that are also
attached as exhibits to this motion.
3
  The exhibits that Defendants submit in support of this memorandum, which are “referenced in” and
“central to,” yet conspicuously not addressed in or attached to, Ubiquiti’s Complaint (see Williamson at
436), are identified by numbers (whereas Ubiquiti’s exhibits to the complaint are identified by letters).


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Cambium and Ubiquiti use is similar. See ¶¶ 21, 22, Ex. I. Both networks utilize an “access

point” that is physically connected to a fixed broadband network. ¶¶ 35, 64. The access point

provides long-range extension of the broadband network over wireless radio-frequency channels

to numerous “subscriber modules” that provide local wireless access. ¶ 21, 52, Ex. H at 2.

         Cambium provides Elevate for free on a “erase and replace” basis to facilitate

interoperability between non-Cambium subscriber modules and Cambium ePMP access points.

¶¶ 21-23, 93, 119; Ex. F at 2. Installing Cambium’s Elevate firmware on competitor subscriber

modules allows registration of that subscriber module to the Cambium ePMP access point. ¶ 52,

Ex. D at 6. Ubiquiti alleges that user configuration parameters, such as IP Address (e.g.,

“1.168.1.1), Device Name (e.g., “Router 1”), frequency configuration, VLAN, and “calibration

information” is copied or accessed after installation of Elevate. ¶¶ 77, 111; Ex. D at 5, 7.

         Ubiquiti alleges ownership of U.S. Copyright Registrations for two versions of the code

for its firmware and attaches both “Certificates of Registration” to the Complaint. ¶ 30, Ex. A.

The Registration Certificates explicitly exclude licensed-in materials, such as Open Source code,

from the copyrighted material. 4 Ex. A. The Registration Certificates do not specifically identify

what the licensed-in materials are, and the Complaint does not acknowledge any excluded

material much less provide guidance on identifying that material. Id.; see generally, ¶¶ 17-36.

         C.         The Ubiquiti Licenses and Open Source Software

         Use of the Ubiquiti Firmware is subject to two Ubiquiti Licenses, including the Firmware

License (Ex. B) and the Ubiquiti EULA (Ex. C). ¶ 37-42. Ubiquiti’s Licenses expressly identify


4
 Despite multiple requests from Cambium, Ubiquiti has refused to immediately provide the copyrighted
materials that it claims give rise to its complaint. Cambium has also requested those materials from the
Copyright Office on a rush basis but has not yet obtained them. To the extent that those materials do not
contain the entire firmware that Ubiquiti is claiming copyright registration of, Ubiquiti’s complaint
should be dismissed for the additional reason that it did not properly register its copyrights prior to
bringing this lawsuit. See 17 U.S.C. § 411(a).


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and define “Open Source Software”:

                “Open Source Software” means any software or software component,
                module or package that contains, or is derived in any manner (in whole
                or in part) from, any software that is distributed as free software, open
                source software or similar licensing or distribution models, including . . .
                (a) GNU’s General Public License (GPL) . . .

Ex. B at 2 (emphasis added). This open source software is incorporated into the Ubiquiti

Firmware and is subject to an in-bound license from a third-party:

             OPEN SOURCE SOFTWARE
                          You hereby acknowledge that the Ubiquiti Firmware may
             contain Open Source Software. You agree to review any documentation
             that accompanies the Ubiquiti Firmware or is identified in the
             documentation for the Ubiquiti Firmware in order to determine which
             portions of the Ubiquiti Firmware are Open Source Software and are
             licensed under an Open Source Software license. To the extent any such
             license requires that Ubiquiti provide You the rights to copy, modify,
             distribute or otherwise use any Open Source Software that are inconsistent
             with the limited rights granted to You in this Agreement, then such rights
             in the applicable Open Source Software license shall take precedence over
             the rights and restrictions granted in this Agreement, but solely with
             respect to such Open Source Software. You acknowledge that the Open
             Source Software license is solely between You and the applicable licensor
             of the Open Source Software. You shall comply with the terms of all
             applicable Open Source Software licenses, if any. Copyrights to the Open
             Source Software are held by the copyright holders indicated in the
             copyright notices in the corresponding source files or as disclosed at
             http://www.ubnt.com.
Id. at 3-4 (emphasis added); see also Ex. C at 5. Thus, Ubiquiti’s Licenses (1) identify open-

source licensed-in materials, and (2) specify that this material can be identified with reference to

the accompanying documentation and the “corresponding source files” provided on Ubiquiti’s

website.

         The Incorporated Documentation clarifies that substantial software components of

Ubiquiti’s M-series devices, such as the boot-loader, operating system, and applications, are

licensed by Ubiquiti under the Public Licenses, potentially modified by Ubiquiti, and then

distributed to customers. As advertised in the Licenses, Ubiquiti’s website contains a notice


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acknowledging that “[s]ome of the software in the firmware is licensed under the GNU [GPL]

and other Open Source and Free Software licenses,” with an embedded hyperlink to the GNU

General Public License ver. 3 (GPL ver. 3). Ex. 1 (emphasis added). The same webpage also

contains a link to download the “corresponding source files.” Id. While the complete contents of

the “corresponding source” package is too large to attach here, Defendants have attached a

listing of the over 16,000 individual open source software code files that are incorporated into

the Ubiquiti Firmware. Ex. 3; Ex. 8. Each one of these files is in-licensed under at least one

version of the GPL and incorporated into Ubiquiti’s Firmware. Ex. 1; Ex. 2 (text of “readme.txt”

included in the corresponding source package).

         The GPL ver. 2 states that even works containing just a portion of a “Program” licensed

under the Public Licenses must be licensed under terms that provide for unrestricted

modification and use. Exs. 5-7, § 2. The GPL ver. 3 goes even further to prevent Ubiquiti from

ever asserting anti-circumvention laws against sub-licensees as a backdoor way to enforce rights

on otherwise publicly available source code. Ex. 4, § 3 (“When you convey a covered work, you

waive any legal power to forbid circumvention of technological measures.”) The Public

Licenses also require that distribution of a compiled object code form of a work (e.g.,

distributing Ubiquiti M-series devices with Ubiquiti Firmware) be accompanied by the

corresponding source code for that work or some mechanism to obtain it. Ex. 4, § 6; Ex. 5, § 3.

         Among the vast amount of code that Ubiquiti licenses and distributes under the GPL ver.

2 and/or GPL ver. 3 (presumably at the option 5 of the licensee) are two components of note: a

boot loader (“U-Boot”) and a package of numerous firmware components called “OpenWRT,”

including an operating system, kernel, file system, radio control software, and various other


5
 Ubiquiti’s website states that the software in the Public Code is licensed under the GPL ver. 3, while
various license files provided therein also reference the GPL ver. 2. See Ex. 1; Ex. 2.


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applications for operating wireless networking devices. See Ex. 3 at 1, 71; Exs. 2, 6.

III.     ARGUMENT

         A.         Ubiquiti’s Copyright Claims Fail to Meet the Iqbal / Twombly Requirements

         The Supreme Court has clarified that a complaint must provide “more than labels and

conclusions, and a formulaic recitation of the elements of a cause of action will not do.”

Twombly, 550 U.S. at 555 (internal citations omitted). A complaint “has stated a claim only if it

has alleged enough facts to render the claim facially plausible, not just conceivable.” Fednav

Int’l Ltd. v. Cont’l Ins. Co., 624 F.3d 834, 837 (7th Cir. 2010) (citing Ashcroft v. Iqbal, 129 S.

Ct. 1937 (2009) and Twombly). It is not enough to provide conclusory statements, with the hope

that discovery will flesh out additional details. The heightened pleading standard prevents “a

plaintiff with a largely groundless claim” from taking “the time of a number of other people,

with the right to do so representing an in terrorem increment of settlement value.” Twombly, 550

U.S. at 557-58; see also Iqbal, 129 S. Ct. at 1953.

         To state a claim for copyright infringement, a plaintiff must at least allege copying of

constituent elements of the work that are original. Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499

U.S. 340, 361 (1991). The complaint fails to plausibly allege that Cambium copied Ubiquiti’s

firmware and, in particular, fails to allege portions of the firmware that Ubiquiti actually owns.

                    1.    Ubiquiti’s Copyright Allegations are Insufficient to State a Claim in
                          view of the Public Code

         As discussed above, Ubiquiti’s Licenses admit that it incorporates extensive portions of

open source code into its firmware—at the very least over 1.4 million lines of code and over

16,000 source code files, and potentially much more. See Ex. 8; supra § II.A, C. Yet Ubiquiti

never acknowledges this while alleging that it created its “proprietary airOS operating system”

firmware at its own effort and expense, and that it has copyrights “for [numerous] Ubiquiti



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firmware airOS” versions. ¶¶ 23, 30, 290, 283. But Ubiquiti cannot claim copyright in this vast

amount of Public Code because it is “not only not [Ubiquiti’s] original work but work that was

actually copied from [other parties].” Qad. Inc. v. ALN Assocs., Inc., 770 F. Supp. 1261, 1267

(N.D. Ill. 1991), aff’d, 974 F.2d 834 (7th Cir. 1992). Ubiquiti is now “egregious[ly] . . . us[ing]

its copyright to sue [Cambium] and to restrain it from the use of material over which [Ubiquiti]

itself had no rights.” Id. Not only is this a defense to infringement, it is also “a complete bar to

[Ubiquiti’s] prosecution of its copyright infringement case against [Cambium].” Id. at 1266.

         Ubiquiti’s allegations would have the Court believe that they originally authored, line for

line, each of the over 1.4 million lines of Public Code they claim copyright in, while Cambium

took, copied, and modified Ubiquiti’s “proprietary” firmware. See ¶ 23; Ex. 8. But inspection of

Ubiquiti’s own exhibits and the Incorporated Documentation shows that it is actually Ubiquiti

that took and copied code from other parties. See Ex. B at 3-4 (noting that Ubiquiti’s Firmware

contains Public Code); Ex. 1 (identifying that Ubiquiti’s Firmware includes code licensed under

the Public Licenses); Ex. 3 (list of files from Ubiquiti’s published Public Code that identifies

open source projects including source directories that Ubiquiti has wholly incorporated into its

firmware). Moreover, Ubiquiti’s EULA acknowledges uncertainty as to who owns the copyrights

to its firmware—“Ubiquiti or its [third-party] licensors.” Ex. C at 5. Ubiquiti has failed to state a

claim for copyright infringement because it has failed to articulate any original elements of its

firmware, thus Defendants have no notice of what copyrightable elements they stand accused of

copying based on the Complaint. Feist ’Publ’ns, Inc. at 361; see Twombly at 557-58.

         Ubiquiti’s allegations of copyright infringement of “its” firmware are “directly at odds”

with its Licenses and with elements of Ubiquiti’s claims that show it simply does not own what it

asserts. Chicago Police Sergeants Ass’n v. City of Chicago, 2011 WL 2637203, at *7 (N.D. Ill.




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July 6, 2011). “A Plaintiff pleads himself out of court when it would be necessary to contradict

the complaint in order to prevail on the merits.” Id. at *7 (internal citations omitted); see also

Massey v. Merrill Lynch & Co., 464 F.3d 642, 650 (7th Cir.2006); Kolupa v. Roselle Park Dist.,

438 F.3d 713, 715 (7th Cir. 2006), abrogation recognized, EEOC v. Concentra Health Serv., Inc.,

496 F.3d 773, 777 (7th Cir.2007). Here, Ubiquiti has pled that it owns copyright rights in the

Public Code and it would be necessary to contradict Ubiquiti’s Licenses and the Incorporated

Documentation to prevail on its claims. Ubiquiti has therefore pled itself out of court.

                    2.   Ubiquiti Fails to Allege What Portions of its Firmware are Not
                         Subject to Public Licenses

          Ubiquiti has also completely failed to address the Public Licenses that are incorporated

into its License Agreements. See supra § II.C, Exs. B, C. The Public Licenses include numerous

versions of the GPL, which is an “open source” public software license:

             In keeping with this open source ethos, the GPL allows for free use and
             redistribution of [Public Code], including in other software (i.e., the
             creation of a derivative work), on the condition the original licensor
             continues the open source trend and makes the source code freely available.
             In other words, the GPL is a “viral” license in the sense the incorporation of
             a GPL-covered software program into a new program “infects” the new
             program and requires it to become open source, too.
Versata at *1. Thus, it is not only true that “[t]he GPL would prevent plaintiff from attempting to

claim a copyright in that modified version of [GPL software],” but the GPL also then “infects”

any new program it is incorporated into and requires that it also become open source. See

Computer Assocs. Int’l v. Quest Software, Inc., 333 F. Supp. 2d 688, 698 (N.D. Ill. 2004);

Versata at *1; see also Ex. 5 § 2; Ex. 4.

         By incorporating the Public Licenses, Ubiquiti’s Licenses actually prohibit Ubiquiti’s

copyright claims. This is because the Public Licenses, to which Ubiquiti admits it is bound,

require that “[y]ou must cause any work that you distribute or publish, that in whole or in part



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contains or is derived from the Program or any part thereof, to be licensed as a whole at no

charge to all third parties under the terms of this License,” and those terms specifically allow you

to “modify,” “copy and distribute such modifications.” Ex. 5 § 2; see Ex. 4. Ubiquiti’s use of the

Public Code in its firmware thus completely bars all of its claims stemming from any alleged

access, copying, modification, or distribution. Moreover, in failing to address the Public Licenses

in its Complaint, the only plausible interpretation of Ubiquiti’s Licenses is that its entire

firmware is licensed under a Public License.

         In sum, Ubiquiti can claim no copyright in the Ubiquiti Firmware because it was

authored by others—namely the contributors of the open source code. The Public Code identifies

over 360 different copyright holders. See Ex. 9. To the extent that any copyrighted or proprietary

portions of the Ubiquiti Firmware actually exist, the incorporated open source licenses eviscerate

any restrictions on use of that code because the entire Ubiquiti Firmware is licensed as a

modification or derivative work of the underlying open source code.

                    3.   Even Ignoring the Public Code, Ubiquiti’s Allegations are Insufficient
                         to State a Claim

         Notwithstanding Ubiquiti’s use of Public Code, Ubiquiti’s allegations are insufficient to

state a claim for copyright infringement for additional reasons. Ubiquiti alleges copyright

infringement in two contexts: (1) that Cambium copies and modifies Ubiquiti’s firmware in

developing Elevate (e.g., ¶¶ 43, 307, 310); and (2) portions of the Ubiquiti firmware are copied

and modified during installation and operation of Elevate (e.g., ¶¶ 45-46, 67, 73, 180, 259). Both

allegations are insufficient to support Ubiquiti’s claims.

         Ubiquiti’s factual allegations regarding alleged infringing acts in Cambium’s

development activity amount to a single sentence plead “[o]n information and belief”:

             43. On information and belief, prior to November 30, 2016, Cambium
             acquired one or more Ubiquiti M-series wireless devices and at least one


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             version of Ubiquiti’s Air/OS firmware for the unauthorized purposes of
             reverse engineering the Ubiquiti firmware for M-series devices, accessing
             proprietary Ubiquiti information embedded in the firmware, copying
             portions of the firmware, modifying the firmware and user interfaces and
             developing and trafficking in Hacked Firmware targeting Ubiquiti M-
             series devices . . . .
¶ 43 (emphasis added). While pleading an allegation “upon information and belief” is not per se

insufficient to meet the Iqbal pleading standard, such allegations must be grounded in at least

some factual information that makes an inference of culpability plausible. See Iqbal at 1949.

Ubiquiti fails to allege even a single fact tending to substantiate its allegations here. For example,

Ubiquiti fails to allege that Cambium even had access to any human-readable (source code)

version of Ubiquiti’s firmware code. (For the record, it did not.) The only plausible conclusion

drawn from the alleged acquisition of an M-series device is that Cambium had access to the

binary non-readable form of the firmware code (though even this is not plainly stated). See ¶ 43.

Ubiquiti has failed to allege how it even would have been technically possible to modify this

binary code. In fact, such a modification would likely break that code, or at least cause

significant errors and inefficiencies in its operation. Ubiquiti has therefore failed to plausibly

allege circumstances where Cambium would copy and modify Ubiquiti’s Firmware.

         The second category of Ubiquiti’s insufficient allegations are that Elevate somehow

copies, modifies, and accesses portions of the Ubiquiti firmware. See, e.g., ¶¶ 45, 67, 73, 76, 77,

86, 111, 140, and 285. For example, Ubiquiti alleges:

             45. The Hacked Firmware selectively modifies and copies portions of
             Ubiquiti firmware. . . .
             67. The Ubiquiti Firmware is modified—portions remain, portions are
             modified, portions are removed and portions are copied—when the
             Cambium Hacked Firmware is installed.
¶¶ 45, 67. Given that Ubiquiti’s code is in the millions of lines (Ex. 8) and is to a large extent

Open Source code over which Ubiquiti has no rights to control, what firmware code allegedly

has been modified or copied has not been identified.


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         Further, Ubiquiti makes clear that the vast majority of its firmware is deleted upon

installation of Elevate. Specifically, Ubiquiti admits that Elevate (1) “deletes the Ubiquiti

kernel,” (2) “deletes the Ubiquiti file system software,” (3) “completely replaces the radio

software,” and (4) “deletes and replaces” the “entire Ubiquiti user interface.” ¶¶ 56, 74, 75, 78,

82. Having identified what is deleted (and therefore is not modified or copied), Ubiquiti is

required to identify what portions of its firmware are copied or modified in order to properly

state a claim so that Cambium can assess these claims. See Twombly at 557-58. Ubiquiti alleges

this only with respect to two portions of its firmware: the calibration and configuration

“information.” ¶¶ 73, 77, 86, 89. In fact, these are the only portions of its firmware that are not

deleted that Ubiquiti acknowledges exist.

         Ubiquiti only alleges ownership of a copyright in this information by virtue of its

copyright registrations, which lend a rebuttable presumption of copyright ownership in the

firmware. See Ex. A; Team Play, Inc. v. Boyer, 391 F. Supp. 2d 695, 699 (N.D. Ill. 2005).

Ubiquiti then alleges that the calibration and configuration information are “portion[s] of th[at]

firmware,” and that those portions are presumably registered under that copyright. ¶¶ 73, 77.

However, Ubiquiti fails to address what configuration or calibration information is—for

example, who created it, what it defines, where it resides on an M-series device, or what the

file(s) that contain this information are named. And even were the “configuration information” or

“calibration information” is included in deposit material for a registered copyright (which is not

even alleged here), that information cannot be the basis of a copyright infringement claim

“because the [information] is not part of the core protectable expression in [the copyrighted

code].” See Datacarrier S.A. at *7. For example, the court in Datacarrier S.A., granted summary

judgment on claims of copyright infringement as to computer code because the claim was based




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on copied “configuration information” and “customization data” that was used to “configure the

ATM [machine] to operate in a certain way.” Id. at *1, *6. The court dismissed those claims

even where that information was included in the copyright registration deposit material held with

the Library of Congress. Id. at *6. Here, Ubiquiti’s copyright claims are based entirely on this

same type of data—configuration and calibration data that is presumably used to configure the

M-series device to operate in a certain manner.

         Because the Complaint does not sufficiently allege copying of constituent elements of

Ubiquiti’s Firmware that are original and copyrightable, the Court should dismiss Ubiquiti’s

Complaint for failure to state a claim for which relief may be granted under Fed. R. Civ. P.

12(b)(6), Twombly at 555.

         B.         Cambium’s Customers Lawfully Erase any Allegedly Copyrighted Firmware
                    from Ubiquiti Devices

         In addition to its improperly pled allegations of copying and modifying its firmware,

Ubiquiti also alleges that Elevate deletes Ubiquiti’s firmware. See ¶¶ 56, 78, 269 (user

interfaces); 74 (kernel); 75 (file system software); 47, 82, 85 (radio software). Ubiquiti does not

identify any Ubiquiti Firmware components that were not deleted, that they own exclusively, and

that were improperly used. 6 Having failed to plausibly allege modification or copying of its

firmware, Ubiquiti’s copyright and breach of contract claims therefore require that mere deletion

would violate some law or agreement. It does not.

                    1.    Deletion does not Violate Copyright Law

         The Copyright Act accords only five rights: reproduction, adaptation, public distribution,

[and] public performance. See 17 U.S.C. § 106. “Deletion” is not one of the enumerated rights.

Indeed, the Copyright Act expressly reserves the right of “disposal” for licensees of a

6
  Ubiquiti alleges that “calibration and configuration information” are “preserved” (¶ 86), but such
information cannot form the basis of a copyright infringement claim (see Datacarrier S.A. at *7).


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copyrighted work. 17 U.S.C. § 109(a). 7 Allegations of unlawful deletion are not plausible under

a statutory regime where licensees are “entitled” to delete copies of works by statutory right.

         Deletion of Ubiquiti’s firmware is no more unlawful than throwing away a CD-ROM or

diskette embodying a software program. Finding otherwise would have the absurd result of

imposing liability for uninstalling a computer program on a generic personal computer. “By

virtue of the statutory provision colloquially called the ‘first sale doctrine,’ the owner of the copy

may, without permission from the copyright proprietor, read it, give it to a friend, rent it as part

of a library, sell it to a second-hand store, rip it in half, or demolish it.” David Nimmer, Brains

and Other Paraphernalia of the Digital Age, 10 Harv. J.L. & Tech. 1, 17 (1996).

                    2.    Deletion does not Violate Ubiquiti’s Licenses

         It is no wonder then that Ubiquiti’s Licenses fail to restrict deletion of its firmware in any

regard. See Exs. B, C. Specifically, Ubiquiti’s Firmware License only provides restrictions on

“using,” “copying,” “modifying,” and “distributing” the firmware. See Ex. B. Ubiquiti’s EULA

provides similar limitations. See Ex. C. However, these Licenses fail to restrict “deletion” of

firmware, and Ubiquiti does not allege otherwise. Cambium cannot be held liable for breaching a

provision of a contract that does not exist. In fact, Ubiquiti’s alleged deletion of the firmware

obviates any notion of using the firmware in violation of the agreement because Ubiquiti has

failed to allege how firmware could be used after it has been deleted. Thus, even if deletion were

prohibited by Ubiquiti’s licenses—a license to use its software—mere deletion without an

antecedent use is not actionable.

         C.         Ubiquiti Fails to State a Claim for Violations of the CFAA and ICTA

         Ubiquiti’s Computer Fraud and Abuse Act (“CFAA”) claims (Claims 1A – F) and Illinois


7
 § 109(b) governs disposal by “rental, lease, or lending” of computer programs in certain circumstances,
but those activities are not at issue here.


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Computer Crime Prevention Law 720 ILCS 5/17-51 (the Illinois Computer Tampering Act

(“ICTA”)) claim (Claim 3) allege that a reality of modern computing technology—installing and

uninstalling software on a computing device—is tortious (and possibly criminal). According to

Ubiquiti, customers download and install Cambium’s Elevate software on an M-series device

that they lawfully purchased from Ubiquiti. ¶ 53. Ubiquiti erroneously postulates that this

violates Ubiquiti’s Licenses and therefore constitutes unauthorized access to the device and

firmware, thereby violating the CFAA and the ICTA. E.g., ¶¶ 171, 180, 193, 277-281. Each of

these claims requires Ubiquiti to allege some unauthorized access or unauthorized damage

beyond alleged violation of a contract from a non-owner of the device. See Bittman v. Fox, 107

F. Supp. 3d 896, 900 (N.D. Ill. 2015) (dismissing CFAA claim for lack of unauthorized access);

Halperin v. Int’l Web Servs., LLC, 123 F. Supp. 3d 999, 1009–12 (N.D. Ill. 2015) (dismissing

ICTA claim for failure to allege an unauthorized access or access in excess of authorization

when Plaintiff installed the software on Plaintiff’s own computer); SecureInfo Corp. v. Telos

Corp., 387 F. Supp. 2d 593, 609 (E.D. Va. 2005) (owner of server, not software licensor,

controls access under CFAA).

         Ubiquiti has not adequately pled that Cambium accessed customer devices “without

authorization” under the CFAA because owners of the device explicitly allow Elevate to access

their devices. 8 See In re iPhone Application Litig., 844 F. Supp. 2d 1040, 1066-1068 (N.D. Cal.

2012) (voluntary installation of mobile phone firmware update was “authorized” under CFAA);

SecureInfo at 608–10 (failure to allege that the access to defendants’ own server was

unauthorized or exceeded authorization by the defendant in dismissing CFAA claims); Oce N.

Am., Inc. v. MCS Servs., Inc., 748 F. Supp. 2d 481, 487 (D. Md. 2010). Ubiquiti only alleges that

8
 The device owner, rather than the licensor of software installed on a device controls authorization to that
device for purposes of establishing a violation of the CFAA or ICTA. See SecureInfo Corp. v. Telos
Corp., 387 F. Supp. 2d 593, 610 (E.D. Va. 2005).


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Elevate is “intentionally install[ed] . . . on Ubiquiti M-series devices.” See ¶ 171; see e.g., ¶¶ 72,

73 (voluntary installation). Ubiquiti has not alleged that installation of Elevate is involuntary or

done without consent of the owner.

         For the same reason, Ubiquiti has not alleged that Cambium accessed customer devices

“without the authorization of a computer’s owner or in excess of the authority granted to him or

her” under the ICTA. See, e.g., ¶ 73. In Halperin, the court dismissed Plaintiff’s ICTA claim for

failure to sufficiently plead that the Plaintiff either (1) had not consented to install the program,

or (2) that he consented to install a different program that did not disclose that the offending

software would “come along for the ride.” Halperin at 1009–12. Ubiquiti fails to allege either,

and instead only alleges that installation is voluntary and “intentional[].” See ¶ 171.

         Ubiquiti has also failed to allege that Cambium caused any damage without authorization

as required to state a claim under CFAA § 1030(a)(5)(A), instead admitting that users authorize

installation of Elevate to “replace[]”Ubiquiti’s firmware. ¶¶ 63-65.

         D.         Ubiquiti Fails to State a Claim for Violations of the DMCA

         Ubiquiti alleges violations of the Digital Millennium Copyright Act’s Anti-

Circumvention provisions 17 U.S.C. §§ 1201(a)(1) and (2) (Claims 2A-B). But Ubiquiti has

completely “waived any legal power” to bring such claims against users of its software by virtue

of the Public License terms embedded in Ubiquiti’s Licenses and accessible with each and every

airOS firmware listing on its own website. See Exs. 1, 4. In addition, Ubiquiti fails to properly

allege circumvention of a technological measure that “effectively controls access” to a

copyrighted work under the statute because Ubiquiti only alleges that the device firmware is only

encountered when updating the firmware and not encountered at any other time when accessing

the firmware as required.




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                    1.   Ubiquiti “Waive[d] Any Legal Power” to Sue Under These Provisions

         As discussed above, Ubiquiti incorporates vast amounts of open source Public Code into

its firmware that is licensed under Public Licenses. See supra § II.A, C. Ubiquiti’s Licenses

direct its licensees to review its website to determine the incorporated open source projects and

any applicable Public Licenses. Ex. B. Once the licensee arrives at said website, a notice states

“[s]ome of the software in the firmware is licensed under the GNU [GPL].” with an embedded

hyperlink to the GPL ver. 3. Ex. 1 (printout of www.ubnt.com/download page for the Ubiquiti

Firmware with hyperlink to the text of the GPL ver. 3). In fact, the same GPL ver. 3 is linked to

over 70 times on Ubiquiti’s website (once for each available airOS firmware version). See Ex. 1.

         The GPL ver. 3 bars Ubiquiti from asserting anti-circumvention laws:

             3. Protecting Users’ Legal Rights From Anti-Circumvention Law.
                  No covered work shall be deemed part of an effective technological
             measure under any applicable . . . laws prohibiting or restricting
             circumvention of such measures.
                  When you convey a covered work, you waive any legal power to forbid
             circumvention of technological measures to the extent such circumvention
             is effected by exercising rights under this License with respect to the
             covered work, and you disclaim any intention to limit operation or
             modification of the work as a means of enforcing, against the work’s
             users, your or third parties’ legal rights to forbid circumvention of
             technological measures.
Ex. 4, § 3. Thus, Ubiquiti has “waive[d] any legal power to forbid circumvention of

technological measures” under the very claims it asserts here by distributing its firmware with

this license.

                    2.   Ubiquiti Fails to Allege That Its “Access Controls” Prevent Access to
                         Its Firmware

         Because the DMCA refers to “control[ling] access to a work protected under this title,” it

does not naturally apply when the “work protected under this title” is otherwise readily

accessible. Lexmark Int’l, Inc. v. Static Control Components, Inc., 387 F.3d 522, 547 (6th Cir.




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2004) (holding that substitute printer cartridges that circumvented an “authentication sequence”

controlling the use of print engine software did not circumvent an “access control”).

         Ubiquiti alleges that one of two “technological measures” control access to its firmware:

(a) “signature protected firmware” (for newer firmware versions) or (b) “software for detecting

unauthorized firmware” (for older versions). ¶ 247. Ubiquiti’s only allegations regarding how

these “measures” operate is self-defeating:

             248.         Cambium, individually and acting in concert and with third
             parties, has violated Ubiquiti’s rights under 17 U.S.C. § 1201(a)(1) by
             directly circumventing access control measures that effectively control the
             ability to update or alter the firmware on Ubiquiti M-series devices by
             using the Hacked Firmware, which passes through Ubiquiti’s access control
             measures for detecting unauthorized firmware, and allows the Hacked
             Firmware to install on Ubiquiti M-series devices and thereafter make
             unauthorized access and use of portions of Ubiquiti’s copyrighted Firmware
             to take control of Ubiquiti M-series devices.
¶ 248. These allegations fail to state a claim because neither “measure” is alleged to control

access to the firmware they are purported to protect—they are merely alleged to “control the

ability to update or alter the firmware” and “detect[] unauthorized firmware.” See id. And since

these access controls are only alleged to be encountered during firmware “update,” Ubiquiti fails

to allege these measures are encountered during normal operation of the device to prevent, for

example, use of the firmware or “read[ing] the literal code of the [device firmware] directly from

the [device] memory.” Lexmark at 547; see also MDY Indus., LLC v. Blizzard Entm’t, Inc., 629

F.3d 928, 952–53 (9th Cir. 2010) (holding that blocking one form of accessing copyrighted

elements (access while connected to a server) but leaving open another (access when not

connected) “is not an effective access control measure”).

         Moreover, to the extent that allegations regarding controlling the firmware upgrade

process are considered a measure that “effectively controls access,” Ubiquiti’s own release notes

for its firmware instruct users how to circumvent these measures. Ex. 10 at 4 (instructing users


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how to “allow unsigned firmware to be loaded”). Ubiquiti has thus failed to state a claim.

         E.         Ubiquiti Fails to State a Claim Under 1202(b) Because it Fails to Allege
                    “Remov[al]” of any CMI.

         Ubiquiti asks the Court to hold Cambium liable for failing to add Ubiquiti’s copyright

information to a “Cambium User Interface” that is part of Cambium’s own firmware. ¶ 269. This

does not establish liability under the law. “For Defendant to be held liable under § 1202(b), one

of two things must have happened: (1) The [firmware] came into Defendant’s possession with

CMI [(copyright management information)] attached, and Defendant intentionally and

improperly removed it, or (2) the [firmware] came into Defendant’s possession without CMI

attached, but Defendant knew that CMI had been improperly removed, and Defendant used the

[firmware] anyway.” Merideth v. Chicago Tribune Co., LLC, 2014 WL 87518, at *3 (N.D. Ill.

Jan. 9, 2014) (dismissing 1202(b) allegations for failure to contain sufficient factual content to

allow a reasonable inference that either scenario happened).

         Ubiquiti’s complaint alleges neither. The only portion of firmware that Cambium stands

accused of removing CMI from is the “user interface software.” ¶ 268-69. But Ubiquiti actually

alleges that installing Elevate “deletes and replaces the user interfaces on Ubiquiti M-series

devices with a completely different [] user interface” (¶ 78; see also ¶¶ 56, 269), thus obviating

any requirement that Cambium maintain Ubiquiti’s copyright information (on software for which

Ubiquiti does not have a copyright). Ubiquiti has also failed to identify any copyrighted portions

of its firmware that remain on the M-series device after installation of Elevate, and Cambium is

therefore not required to maintain any CMI to identify this information. See supra § III.A.

         F.         Ubiquiti Fails to State a Claim for Breach of Contract

         In addition to the fact that Ubiquiti’s Licenses do not prohibit any of the allegedly

breaching activity—i.e., deletion of firmware and use of configuration and calibration



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information (See supra § III.B.2)—Ubiquiti’s breach of contract claims also fail for the

additional reasons that Ubiquiti fails to allege a breach to a particular provision of a particular

license and that Ubiquiti fails to attach the entire agreement to the complaint.

                    1.   Ubiquiti Fails to Allege a Breach of a Particular Provision of a
                         Particular Contract

         Ubiquiti’s complaint identifies two different licenses with different terms and restrictions:

the “Firmware License Agreement” (Exhibit B; ¶ 37) and the “EULA” (Exhibit C; ¶ 42).

However, Ubiquiti only selectively quotes from the collective text of both licenses while

claiming that Cambium’s copying constitutes a breach even though copying is expressly allowed

under one of those licenses. ¶ 42; see also ¶¶ 304-306. Thus, Ubiquiti fails to identify a particular

license and a particular provision that is breached as a breach of contract claim requires. See

Tsitsopoulou v. Univ. of Notre Dame, 2011 WL 839669, at *5 (N.D. Ind. Mar. 7, 2011)

(dismissing complaint for failing to identify a particular contract and any particular provision

that was allegedly breached).

         These allegations are particularly egregious because the EULA is only “applicable to any

Ubiquiti firmware downloaded from the Ubiquiti website” and Ubiquiti fails to allege that

Defendants downloaded any Ubiquiti Firmware much less agreed to the EULA at all. See ¶¶ 41-

42. Accordingly, these claims fail to put Cambium on notice of any alleged breach to a particular

provision of a license and must be dismissed. See Tsitsopoulou at *5.

                    2.   Ubiquiti Failed to Attach the Entire Agreement to the Complaint

         When governing provisions of a contract are not attached as part of the Complaint, a

breach of contract “claim [is] properly dismissed for violation of section 2-606.” Ladien v.

Presence RHC Corp., 2017 IL App (1st) 152778-U (2017), ¶ 24 (citing 735 ILCS 5/2–606 and

Sherman v. Ryan, 392 Ill. App. 3d 712, 733 (2009)). Ubiquiti has failed to attach numerous



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Public License agreements that are referenced in its Licenses and that govern Cambium’s use of

the firmware. Ubiquiti’s Licenses provide that “[t]o the extent any such [Public License] requires

that Ubiquiti provide You the rights to copy, modify, distribute or otherwise use any Open

Source Software that are inconsistent with the limited rights granted to You in this Agreement,

then such rights in the applicable [Public License] shall take precedence over the rights and

restrictions granted in this Agreement.” Ex. B at 3-4; see Ex. C at 5. Therefore, Ubiquiti’s

breach of contract claims must be dismissed.

         G.         Ubiquiti Admits Customers Are Not Confused

         In order for Ubiquiti’s claims under the Lanham Act—False Advertising (Count 5),

Trademark (Count 10), and False Designation of Origin (Count 11)—and its common law

Trademark claim (Count 12) to survive a motion to dismiss, Ubiquiti must allege some customer

confusion. However, Ubiquiti’s pleadings make clear that its customers are not confused about

the source of Cambium’s Elevate firmware. This bars each of Cambium’s claims. “To prevail on

a Lanham Act claim, a plaintiff must establish that (1) [its] mark is protectable, and (2) the

defendant’s use of the mark is likely to cause confusion among consumers.” Packman v. Chi.

Tribune Co., 267 F.3d 628, 638 (7th Cir. 2001).

                    1.    Alleged Confusion as to Source of Firmware

         “Only a confusion about origin supports a trademark claim, and ‘origin’ for this purpose

means the ‘producer of the tangible product sold in the marketplace.’” Eastland Music Group,

LLC v. Lionsgate Entm’t, Inc., 707 F.3d 869, 872 (7th Cir.2013). But Ubiquiti’s own allegations

make clear that there could be no confusion as to the source of Elevate: e.g., (a) Elevate release

announced on Cambium website (¶ 93); (b) Cambium refers to Elevate as a “replacement” for

Ubiquiti’s firmware (id.); (c) Elevate is downloaded from its website (id.); (d) during

instructional webinars, Cambium distinguishes Elevate from the “old manufacturers’ firmware”


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(¶ 103) (e) Elevate is advertised as hardware “agnostic” and that it operates on “radio hardware

from one or multiple vendors” (¶ 107). These allegations do not plausibly support Ubiquiti’s

conclusory claims of customer confusion because they prove that customers know that Cambium

is the source of Elevate—not Ubiquiti. See ¶¶ 341, 345, 349, 295. Moreover, any alleged use of

Ubiquiti’s marks is a nominative fair use by Cambium because Ubiquiti admits that Cambium

uses the names to identify the Ubiquiti devices that its firmware is compatible with and/or

running on and Ubiquiti has not provided any factual allegations suggesting this use implies

sponsorship by Ubiquiti. See Slep-Tone Entm’t Corp. v. Coyne, 41 F. Supp. 3d 707, 717–18

(N.D. Ill. 2014); see ¶ 57.

                    2.   Allegedly Deceptive Statements

         Similarly, to establish liability for false advertising, “a plaintiff must show that the

challenged advertisement is literally false, or, if literally true or ambiguous, that it is

‘misleading in context, as demonstrated by actual customer confusion.’” BASF Corp. v. Old

World Trading Co., 41 F.3d 1081, 1088–89 (7th Cir. 1994). With respect to allegedly false

statements, Ubiquiti only alleges that Cambium misrepresents the amount of Ubiquiti Firmware

remaining operative after Cambium’s firmware is installed. See, e.g., ¶¶ 103. The extraordinary

deficiencies in Ubiquiti’s allegations regarding the installation of Cambium’s firmware are

discussed above and do not plausibly support that Cambium’s statements here are “literally

false.” See supra § III.A. The remainder of Ubiquiti’s allegations regarding allegedly false

statements are that Cambium makes such statements “by omission” or “impli[cation],” yet,

Ubiquiti has failed to establish that any of the alleged statements are false. ¶¶ 101, 104, 113. For

example, Ubiquiti alleges that “Cambium fails to tell customers that the use of [Cambium

Firmware] . . . violates FCC requirements and rules” yet fails to specify any particular FCC rule

that is violated. ¶ 66. Therefore, Ubiquiti fails to allege facts that support its Lanham Act and


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common law Trademark claims, and those claims should be dismissed.

         H.         Ubiquiti’s State Law Claims Are Preempted by the Copyright Act

         Because Ubiquiti’s breach of contract, unfair competition, and misappropriation claims

are based on the same rights protected in a copyright infringement claim, these claims must be

dismissed as preempted. Higher Gear Grp., Inc. v. Rockenbach Chevrolet Sales, Inc., 223 F.

Supp. 2d 953, 958-59 (N.D. Ill. 2002) (finding preemption to extent claim alleged violations of

license prohibitions against unauthorized copying and creation of derivative products).

                    1.    Ubiquiti’s Breach of Contract Claim (Claim 6) Is Preempted

         Ubiquiti’s breach of contract claim, which alleges that Cambium copied, modified, and

reproduced Ubiquiti’s copyrighted code (¶¶ 307-310), should be dismissed because it is based on

nothing more than the alleged act of copyright infringement. See Higher Gear at 958. Ubiquiti

alleges that the Ubiquiti Firmware is copyright-protected material (¶ 38), and that Cambium has

“infringe[d] Ubiquiti’s copyrights in the Ubiquiti firmware by violating the Ubiquiti Firmware

License Agreement and making unauthorized copies and use of Ubiquiti Firmware.” ¶ 284.

It also alleges that Cambium infringed Ubiquiti’s copyrights by “creat[ing] an unauthorized

derivative work of the Ubiquiti firmware.” ¶ 285. Ubiquiti alleges that the facts that form the

basis of Ubiquiti’s breach of contract claim also show infringement of its copyright, and thus its

breach of contract claim is preempted.

                    2.    Ubiquiti’s Unfair Competition Claim (Claim 8) Is Preempted

         Similarly, Ubiquiti’s unfair competition claim should be dismissed. Unfair competition

claims based on “reverse passing off” are preempted by the Copyright Act. Higher Gear at 959

(preempting unfair competition claim where defendant allegedly developed and marketed its

own version of plaintiff’s software without putting the time and expense into developing the

software). Here, Ubiquiti’s unfair competition claim is based on allegations that Cambium


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“reverse engineered the Ubiquiti Firmware to reap the benefits of Ubiquiti’s substantial

investment of time and money and to free-ride on Ubiquiti’s costly investment.” ¶ 323. Thus, as

in Higher Gear, Ubiquiti’s reverse passing off-based unfair competition claim is preempted.

                    3.     Ubiquiti’s Misappropriation Claim (Claim 13) Is Preempted

         The Copyright Act also preempts Ubiquiti’s common law misappropriation claim.

See Morningware, Inc. v. Hearthware Home Prod., Inc., No. 09 C 4348, 2012 WL 3835825, at

*8 (N.D. Ill. Sept. 4, 2012); Gannett Satellite Info. Network, Inc. v. Rock Valley Cmty. Press,

Inc., No. 93 C 20244, 1994 WL 606171, at *4–5 (N.D. Ill. Oct. 24, 1994); G.D. Searle & Co. v.

Philips–Miller & Assocs., Inc ., 836 F. Supp. 520, 524–26 (N.D. Ill.1993). Ubiquiti’s

misappropriation claim is based on Cambium’s alleged copying and distribution of the Ubiquiti

firmware, which Ubiquiti also alleges infringes its copyright in the firmware. ¶ 353.

Accordingly, the misappropriation claim is preempted and should be dismissed.

         I.         Ubiquiti Fails to State a Claim for Rico Violations

                    1.     Ubiquiti Fails to Allege Conduct of an Association-in-Fact Enterprise

         To state a section 1962(c) RICO claim, a plaintiff must allege conduct of an enterprise.

18 U.S.C. § 1962(c); DeGuelle v. Camilli, 664 F.3d 192, 199 (7th Cir. 2011). RICO “liability

depends on showing that the defendants conducted or participated in the conduct of the

‘enterprise’s affairs,’ not just their own affairs.” Reves v. Ernst & Young, 507 U.S. 170, 185, 113

S. Ct. 1163, 1173, 122 L. Ed. 2d 525 (1993) (emphasis in original). Despite Ubiquiti’s

conclusory allegation that Cambium, its parent corporation Cambium UK, its VP of Engineering,

its Project Engineer, and its distributor Winncom together formed an association-in-fact “hacking

enterprise,” (¶¶ 2, 131, 142), Ubiquiti fails to plausibly allege facts sufficient to show that the

parties were acting in common to pursue a common legal interest.

         Cambium, Cambium UK, and Cambium’s VP of Engineering and Engineer cannot form


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an enterprise together because “[a] firm and its employees, or a parent and its subsidiaries, are

not an enterprise separate from the firm itself.” Bachman v. Bear, Stearns & Co., 178 F.3d 930,

932 (7th Cir. 1999). Thus, of the five comprising the alleged “hacking enterprise,” Winncom is

the only entity with which Cambium could have formed an association-in-fact. See ¶¶ 2, 142.

         An association-in-fact enterprise requires more than a “garden-variety” commercial

relationship. See Crichton v. Golden Rule Ins. Co., 576 F.3d 392, 399-400 (7th Cir. 2009);

United Food v. Walgreen Co., 719 F.3d 849, 854–55 (7th Cir. 2013) (dismissing RICO claims

stemming from allegations amounting to a “normal commercial relationship” instead of an

association-in-fact enterprise, noting that the plaintiff did not allege “that officials from either

company involved themselves in the affairs of the other,” that personnel for either company were

involved in the actions needed to be taken by the other company to perpetuate the fraud, or “that

the profits from the illegal drug-switching scheme were siphoned off to the [enterprise] or to

individual enterprise members.” Id. at 854-856).

         Here, Ubiquiti’s allegations related to Cambium and Winncom’s relationship and conduct

demonstrate no more than a mutually beneficial, “garden-variety” commercial relationship

between manufacturer and distributor, like in Crichton and Walgreen Co. Ubiquiti alleges that

Winncom advertised for Cambium (¶¶ 135, 152-53, 160); “report[ed] to Cambium regarding its

distribution and sales” (¶ 360); hosted an ePMP product demonstration at a WISPApalooza event

(¶ 153, 160); and served as a “connected partner” for Cambium, for which it received various

benefits (id. ¶ 155). This is all consistent with a normal commercial relationship wherein a

distributor gets a discount for encouraging sales of the manufacturer’s product. The complaint

also contains generic allegations related to Cambium’s direction of the “hacking enterprise” and

the “hacking enterprise’s” goal to attain financial gain and what was generally being done to




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reach that goal. See, e.g., ¶¶ 138-47. These conclusory allegations are not sufficient to show that

Cambium and Winncom “were acting in concert on behalf of a shadow enterprise.” Walgreen

Co., at 855. Further, as in Walgreen Co., Ubiquiti does not allege that Cambium’s or Winncom’s

officials were involved in the affairs of the other, that Cambium was involved in Winncom’s

advertising or distribution of or that Winncom was involved in Cambium’s coding of Elevate, or

that profits from use of Elevate were “siphoned off” to the alleged enterprise. Ubiquiti has thus

failed to state a claim under section 1962(c).

                    2.    Ubiquiti’s Section 1962(d) Claim (Claim 15) Necessarily Fails with its
                          Section 1962(c) Claim (Claim 14)

         Ubiquiti’s 18 U.S.C. § 1962(d) claim is premised on the same facts as its Section 1962(c)

claim, and thus also fails. Patel v. Mahajan, No. 11 C 4545, 2012 WL 3234397, at *5 (N.D. Ill.

Aug. 6, 2012). Section 1962(d) makes it “unlawful for any person to conspire to violate any of

the provisions of subsection (a), (b), or (c) of this section.” While Ubiquiti’s section 1962(d)

claim is brought against all defendants other than Cambium, and adds allegations that Blip

conspired with Cambium UK, Winncom, Ahmed, and Moiseev, it is premised on the same facts

that were alleged, and failed, to amount to a section 1962(c) violation and must be dismissed for

the same reasons.

         J.         Ubiquiti Cannot State a Claim for Intentional Interference with Prospective
                    Economic Advantage (Count 9) Because Cambium Is a Competitor

         “An entity that is competing for prospective business, and is doing so lawfully, cannot be

held liable for tortious interference with prospective advantage.” Jamsports & Entm’t, LLC v.

Paradama Prods., Inc., 382 F. Supp. 2d 1056, 1060 (N.D. Ill. 2005). Ubiquiti alleges that

Cambium is its competitor (¶¶ 90, 134), and as demonstrated throughout this memorandum, fails

to allege facts to support any claims that Cambium’s actions violated federal or state law.




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         K.         Ubiquiti Lacks Standing

         In association with Cambium’s “factual challenge” to standing, the Court should consider

the Public Code and Incorporated Documentation. See Apex Digital, Inc. v. Sears, Roebuck &

Co., 572 F.3d 440, 444 (7th Cir. 2009). When considering a motion that launches a factual attack

against jurisdiction, “[t]he district court may properly look beyond the jurisdictional allegations

of the complaint and view whatever evidence has been submitted on the issue to determine

whether in fact subject matter jurisdiction exists.” Evers v. Astrue, 536 F.3d 651, 656–57 (7th

Cir. 2008) (internal quotations omitted); see also Chicago Teachers Union, v. Bd. of Educ. of the

City of Chicago, 950 F. Supp. 2d 984, 986 (N.D. Ill. 2013).

         Here, Ubiquiti’s allegations that it owns 100% of the source code and copyrights to its

firmware, and that Cambium licenses this firmware from Ubiquiti, are critical to its copyright

and contract claims. See ¶¶ 23, 30, 300-314; Ex. A. To the extent the Court deems these

allegations facially sufficient to confer standing, Cambium attaches the Public Code and

Incorporated Documentation as evidence that clearly calls Ubiquiti’s standing into question on at

least these claims (Exs. 1 – 10). This evidence shows that Ubiquiti is neither the copyright

holder, owner, or exclusive licensee of the entire firmware it asserts.

                    1.    Ubiquiti Lacks Standing Under the Copyright Act

         “Standing to sue under the Copyright Act of 1976 is governed by 17 U.S.C. § 501(b).

Section 501(b) provides that ‘[t]he legal or beneficial owner of an exclusive right under a

copyright is entitled . . . to institute an action for any infringement of that particular right

committed while he or she is the owner of it.’ . . . . [I]f the owner, assignee or exclusive licensee

grants only a nonexclusive license, the recipient has no standing to sue for copyright

infringement.” Althin CD Med., Inc. v. West Suburban Kidney Center, S.C., 874 F. Supp. 837,

842 (N.D. Ill. 1995). Ubiquiti lacks any exclusive rights in the Public Code, and the Public


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Licenses fail to provide it with any of those exclusive rights. See 17 U.S.C. § 106. Ubiquiti’s

inbound Public Licenses provide a non-exclusive, limited license in some copyright rights. See,

e.g., Ex. 5. Moreover, the Public Code is publicly available and licensed to many others. Ubiquiti

is therefore not an “exclusive” licensee in this Public Code and therefore lacks standing.

                    2.   Ubiquiti Lacks Standing for Breach of Contract

         “[A] cause of action based on a contract may be brought only by a party to that contract,

by someone in privity with such a party or by an intended third-party beneficiary of the

contract.” Kaplan v. Shure Bros., 266 F.3d 598, 602 (7th Cir. 2001) (internal citations omitted).

Ubiquiti lacks privity of contract because Cambium’s license comes from third-party licensors,

not Ubiquiti. Ubiquiti’s Firmware License states: “You acknowledge that the Open Source

Software license is solely between You and the applicable licensor of the Open Source

Software.” Ex. B at 4. Ubiquiti does not have standing to assert a breach of these Public Licenses

and has not otherwise alleged any particular portions of its code that are not subject to such

Public Licenses. Ubiquiti’s complaint must establish exclusive ownership and infringement or

breach as to only the same portion of the Ubiquiti Firmware that are not Public Code, Open

Source Software, or otherwise covered by the Public Licenses. Having failed to do so, Ubiquiti

therefore lacks standing to bring at least its copyright and contract claims.

IV.      CONCLUSION

         For the foregoing reasons, Defendants respectfully submit that Ubiquiti’s complaint fails

to satisfy the Iqbal/Twombly pleading standards and that Ubiquiti lacks standing. Ubiquiti’s

“artful pleading” does not resolve these deficiencies. See Trinity at 755. The complaint should

therefore be dismissed with prejudice. To the extent it is not dismissed with prejudice, any

amended complaint should identify (1) protectable, copyrighted portions of Ubiquiti’s firmware,




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(2) why those components are not subject to Public Licenses, and (3) how Defendants modify or

use those portions so Defendants can actually assess Ubiquiti’s claims.



Dated: October 15, 2018                         Respectfully submitted,

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                                                /s/ James P. Fieweger
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